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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO




United States of America,               )          CASE NO. 4:04CR427
                                        )
           Plaintiff,                   )
                                        )
                                        )          Judge John R. Adams
           - vs -                       )
                                        )          ORDER
Brandon Jackson                         )
                                        )
           Defendant.                   )




     This matter was heard on November 24, 2009, upon the request of the probation

office for a finding that the defendant had violated the conditions of his supervised

release. The defendant was present and represented by counsel. Upon consideration

of statements of counsel, the Court adopts the Report and Recommendation of

Magistrate Judge Limbert and finds that the terms of the defendant’s supervised

release has been violated as follows:



     1)    Failure to Report to Probation Officer as Instructed on 10/28/09, 10/30/09,
           and 11/5/09.

     2)    Failure to Submit Monthly Supervision Reports during September and
           October of 2009.

     3)    Failure to Comply with Drug Testing.


     Defendant is sentenced to the Bureau of Prisons for a term of 10 months.
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     Further, supervised release shall be for a term of 2 years upon release from

imprisonment with previously imposed conditions as well as two additional conditions:

     1.    The defendant shall submit his person, residence, place of business,

           computer, or vehicle to a warrantless search, conducted and controlled by

           the U.S. Probation Officer at a reasonable time and in a reasonable

           manner, based upon reasonable suspicion of contraband or evidence of a

           violation of a condition of release; failure to submit to a search may be

           grounds for revocation; the defendant shall inform any other residents that

           the premises may be subject to a search pursuant to this condition.



     2.    The defendant shall participate in an outpatient program approved by the

           U.S. Probation Office for the treatment of drug and/or alcohol abuse, which

           will include testing to determine if the defendant has reverted to substance

           abuse

     The defendant is remanded to the custody of the United States Marshal, Akron,

Ohio.

     IT IS SO ORDERED.


  Date: November 25, 2009                     s/John R. Adams
                                            JOHN R. ADAMS
                                            UNITED STATES DISTRICT JUDGE
